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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11   JOHN A. HENDERSON,                       )     NO. LA CV 21-06278-VBF (AGR)
                                              )
12                        Petitioner,         )
                                              )     JUDGMENT
13       v.                                   )
                                              )
14   PEOPLE OF THE STATE OF                   )
     CALIFORNIA,                              )
15                                            )
                          Respondent.         )
16                                            )
17            Pursuant to the Court’s Order filed concurrently,
18
              IT IS ADJUDGED that the Motion filed by Petitioner is DENIED without
19
     prejudice and that the case be terminated without prejudice to his ability to file a
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     petition for writ of habeas corpus under 28 U.S.C. § 2254.
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22
                                                      /s/ Valerie Baker Fairbank
23
     DATED: November 2, 2021                  __________________________________
24
                                                     VALERIE BAKER FAIRBANK
25                                                    United States District Judge
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27
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